           Case 2:18-cv-01773-RSM Document 81 Filed 10/26/21 Page 1 of 2



 1
                                                  THE HONORABLE RICARDO S. MARTINEZ
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
      JAMES GINZKEY, RICHARD                           Case No.: 2:18-cv-1773-RSM
10    FITZGERALD, CHARLES CERF, BARRY
      DONNER, and on behalf of the class               ORDER GRANTING UNOPPOSED
11    members described below,                         MOTION FOR ORDER APPROVING
                                                       PROPOSED NOTICE PLAN
12                          Plaintiffs,
13
                      v.
14
      NATIONAL SECURITIES
15    CORPORATION, a Washington Corporation
16                          Defendant.
17

18          WHEREAS, THIS MATTER came before the Court on Plaintiffs’ Unopposed Motion

19   for Approval Plaintiffs’ Proposed Notice Plan (Dkt. No. 78);
20
            WHEREAS, THE COURT considered the Plaintiffs’ Motion (Dkt. No. 80) and
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     Defendant’s lack of opposition thereto;
22
            NOW, THEREFORE, THE COURT ORDERS THAT the motion is GRANTED; and
23
     FURTHER ORDERS THAT the Plaintiffs’ Proposed Notice Plan (Dkt. No. 78) is approved
24

25   by this Court.

26   //
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28
      [PROPOSED] ORDER GRANTING UNOPPOSED MOTION FOR                      STOLTMANN LAW OFFICES, P.C.
                                                                            161 North Clark St., 16th Floor
      ORDER APPROVING PROPOSED NOTICE PLAN                                     Chicago, Illinois 60601
      Case No. 2:18-cv-1773-RSM                                                     312-332-4200
           Case 2:18-cv-01773-RSM Document 81 Filed 10/26/21 Page 2 of 2



 1
            DATED this 26th day of October, 2021.
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 5                                             A
                                               RICARDO S. MARTINEZ
 6                                             CHIEF UNITED STATES DISTRICT JUDGE

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11   “Presented by”
     Dated this 22nd day of October, 2021.
12

13   By: /s/ David Neuman
     David Neuman, Esq. (WSB #48176)
14   ISRAELS NEUMAN PLC
     10900 NE 8th Street, Suite 1000
15   Bellevue, Washington 98004
     dave@israelsneuman.com
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      [PROPOSED] ORDER GRANTING UNOPPOSED MOTION FOR               STOLTMANN LAW OFFICES, P.C.
                                                                     161 North Clark St., 16th Floor
      ORDER APPROVING PROPOSED NOTICE PLAN                              Chicago, Illinois 60601
      Case No. 2:18-cv-1773-RSM                                              312-332-4200
